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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 State of Colorado, et al.,

                                 Plaintiffs,          Case No. 1:20-cv-03715-APM

  v.                                                  HON. AMIT P. MEHTA

 Google LLC,

                                 Defendant.


      GOOGLE’S RESPONSE TO PLAINTIFF STATES’ SUPPLEMENTAL
  RESPONSE TO CERTAIN QUESTIONS OF THE COURT AT ORAL ARGUMENT

       Plaintiff States’ (“Plaintiffs”) “Supplemental Response” further confirms that Google’s

motion for summary judgment should be granted with regards to Plaintiffs’ Section 2 claim as it

relates to conduct purportedly involving Specialized Vertical Providers (“SVPs”)—namely

Google’s design of its search engine results page (“SERP”) for certain of its specialized search

units and Google’s data sharing agreements with SVPs. Plaintiffs’ stated explanation for their

post-hearing submission is that two specific questions at the April 13 hearing were never

specifically raised during the summary judgment briefing. The Court’s questions were directed at

the issue of harm to competition in the alleged relevant markets—an issue at the heart of Google’s

motion for summary judgment.

       As explained below, Plaintiffs’ “supplemental response,” like Plaintiffs’ counsel’s non-

responses to the Court’s questions at the summary judgment hearing, provides no evidence that

Google’s product design decisions and data agreements with SVPs have impacted any SVP’s

ability to partner with a general search engine, much less that they resulted in harm to competition

between a general search engine and Google in any proffered relevant market.



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   I.      PLAINTIFFS’ NEWLY PROFFERED “EVIDENCE” DOES NOT PROVE
           HARM TO COMPETITION IN THE ALLEGED RELEVANT MARKETS.

        At the April 13 hearing, the Court engaged Plaintiffs’ counsel in an extended colloquy

regarding Plaintiffs’ purported evidence that Google’s conduct regarding its specialized search

unit designs harmed any SVP in a manner that translated into harm to any partnership with a

general search engine—a necessary first step in Plaintiffs’ convoluted theory of harm to

competition. Indeed, the Court repeatedly questioned why Google would even have an incentive

to harm SVPs, and thus their ability to advertise on Google, given that SVPs are significant

advertisers on Google. April 13, 2023 Hearing Transcript (“Tr.”) at 183, 188. Plaintiffs’ counsel

tellingly offered no coherent response to these questions.

        The Court similarly pressed Plaintiffs’ counsel for evidence that Google’s data sharing

agreements harmed SVPs’ ability to partner with general search engines. Id. at 190-98. Again,

Plaintiffs’ counsel had no such evidence. Id. at 193-194, 198-199. In their summary judgment

opposition and at the hearing, Plaintiffs have failed to identify a single instance where (a) a general

search engine wanted to enter into a partnership with an SVP but was unable to do so based on any

data sharing agreements with Google, or (b) a general search engine was unable to acquire any

category of data because SVPs who had that data were somehow weakened by Google’s conduct

or were prevented from sharing data by Google’s agreement with the SVP. Indeed, as the Court

noted, Microsoft has entered into many SVP partnerships over the years. Id. at 194.

        Plaintiffs’ supplemental response focuses on three SVPs. None of the evidence referenced

by Plaintiffs addresses the Court’s questions about how any impact on SVPs evidences harm to

competition in the alleged relevant markets.

        Angi:    Plaintiffs reference




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                                  . Google’s LSA unit is shown in response to queries for local

service providers such as “house cleaners Anchorage” and displays information about actual

service providers—not links to aggregators or SVPs. See Slide 30 from Google’s Summary

Judgment Presentation. SVPs like Angi can participate in Google’s LSA unit through the LSA

Partner Program, which allows an SVP to purchase LSA ads on behalf of its service providers. If

a service provider from a participating SVP is responsive to a user query, an ad for the service

provider may be shown in the LSA unit, along with attribution to the SVP that placed the ad. Id.

(showing advertisements purchased by SVP Thumbtack). 1 If the user clicks on the advertisement,

rather than sending the user to an SVP webpage, Google sends the user to a details page for the

service provider that provides more information and booking options, as Google determined that

benefitted users. Id. at Slide 31 (exemplar details page).




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       Yelp: In 2017, Yelp launched an extension on Google’s Chrome browser that, if the user

implemented it, would result in a different presentation of search results for local search queries

than would be generated using Google’s design of its Local Search unit. Yelp subsequently asked

Google to redesign its Local Search unit algorithms in a manner allegedly consistent with the

Chrome extension promoted by Yelp, but Google disagreed that it was a superior user experience

and did not implement Yelp’s preferred product redesign. This episode says nothing about any

impact that Google’s Local Search unit has had on Yelp, especially since Yelp can appear in ads

at the top of the SERP and in organic search results on the SERP as well. See Slide 24 (depicting

ad for SVP DoorDash at top of SERP and organic search results for SVPs Grubhub and Uber Eats

below the Local Search unit). Nor does it provide evidence of any inability to partner with general

search engines, a required step in Plaintiff’s multi-step theory. In any event,




                   Plaintiffs again cite to           generalized complaints about not being paid

by Google for the data that         provides in connection with

                                          Pls.’ Br. 2 (citing Pls.’ SMF ¶ 184). This complaint has

nothing to do with Google’s design of its specialized units, nor does it relate to          ability



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or incentive to partner with other general search engines (it has provided data to Microsoft for

many years, just as it has provided data to Google). See Google’s Reply In Support of Summary

Judgment (ECF No. 523) at 22-23. Indeed, the Court observed at the hearing that this was

unrelated to Plaintiffs’ SVP harm to competition theory. Tr. at 198-200.

              *                       *                      *                      *

       As the Microsoft court made clear, Plaintiffs must provide evidence of substantial

anticompetitive effects in the relevant markets in order to make a prima facie Section 2

case. United States v. Microsoft Corp., 253 F.3d 34, 71 (D.C. Cir. 2001) (en banc) (per curiam)

(finding no liability regarding agreements with ICPs because “plaintiffs failed to demonstrate” a

“substantial effect upon competition”). In Microsoft, the court found substantial evidence that

certain Microsoft conduct intentionally and significantly reduced the distribution of Netscape

Navigator and Sun’s Java—products that Microsoft understood threatened its monopoly position

in the relevant market for Intel-compatible PC operating systems. See e.g., id. at 62 (OEM

agreement restrictions), 65-66 (integration of IE and Windows), 70-71 (IAP agreement

restrictions); 75 (ISV agreement restrictions); 76-77 (Java deception). By contrast, Plaintiffs’ SVP

evidence does not demonstrate that any SVP’s ability to partner with a rival search engine was

diminished (let alone substantially so), or that any partnership was in fact blocked from

substantially enhancing competition in the alleged general search engine and search ads

markets. For these reasons, Google’s motion for summary judgment should be granted on

Plaintiffs’ claim as it pertains to the alleged SVP-related conduct.




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Dated: April 28, 2023                Respectfully submitted,

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